

I.H. v Erie County (2025 NY Slip Op 02512)





I.H. v Erie County


2025 NY Slip Op 02512


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., CURRAN, OGDEN, DELCONTE, AND KEANE, JJ.


392 CA 23-01628

[*1]I.H., PLAINTIFF-APPELLANT,
vERIE COUNTY, DEFENDANT-RESPONDENT, ET AL., DEFENDANTS. 






HERMAN LAW, NEW YORK CITY (STUART S. MERMELSTEIN OF COUNSEL), FOR PLAINTIFF-APPELLANT. 
JEREMY C. TOTH, COUNTY ATTORNEY, BUFFALO (ERIC W. MARRIOTT OF COUNSEL), FOR DEFENDANT-RESPONDENT.


	Appeal from an order of the Supreme Court, Erie County (Daniel Furlong, J.), entered August 8, 2023. The order, among other things, granted the motion of defendant Erie County for summary judgment dismissing plaintiff's complaint. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








